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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                                 Case No. 20-20259-RAM
                                                       (Jointly Administered)
It’Sugar FL I LLC, et al.,
                                                       Chapter 11
      Debtors.
_______________________________/

                   DECLARATION OF THE DEBTORS’ CHIEF
          RESTRUCTURING OFFICER IN SUPPORT OF FIRST DAY MOTIONS

         I, Troy Taylor, declare under penalty of perjury of the laws of the United States of America

that the following is true to the best of my knowledge, information and belief:

         1.     I am the proposed Chief Restructuring Officer (“CRO”) of It’Sugar FL I LLC,

It’Sugar LLC, It’Sugar Atlantic City LLC and It’Sugar FLGC LLC (collectively, “It’Sugar” or

the “Debtors”). Except as otherwise indicated, all statements in this Declaration are based upon

my personal knowledge, my review of the Debtors’ books and records, relevant documents and

other information prepared or collected by the Debtors’ employees or advisors, or my opinion

based upon my experience with the Debtors’ operations and financial condition.

         2.     If I were called to testify as a witness in this matter, I could and would competently

testify to each of the facts set forth herein based upon my personal knowledge, review of

documents or my personal opinion.

         3.     I am authorized to submit this Declaration on behalf of the Debtors.

         4.     On September 22, 2020 (“Petition Date”), the Debtors commenced these Chapter

11 cases by filing voluntary petitions for relief under chapter 11 of title 11 of the United States

Code (“Bankruptcy Code”).
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       5.      The Debtors intend to operate their business and manage their assets as debtors-in-

possession pursuant to 11 U.S.C. § 1107(a) and 1108.

       6.      To minimize any business disruption caused by the commencement of these

Chapter 11 cases and to ensure a smooth transition into Chapter 11, the Debtors seek various types

of relief through “first day” applications and motions filed contemporaneously herewith, including,

but not limited to:

            a. Emergency Motion of the Debtors for Interim and Final Orders (I) Authorizing

               Debtors (A) to Obtain Postpetition Financing from SHL Holdings, Inc.; and (B) to

               Utilize Cash Collateral, (II) Granting Adequate Protection, (III) Modifying the

               Automatic Stay, (IV) Scheduling Final Hearing; and (V) Granting Related Relief

               (“DIP Financing Motion”)

            b. Debtors’ Emergency Motion for Authorization to (I) Pay Certain Prepetition

               Employee Obligations and Maintain and Continue Employee Benefits and

               Programs; and (II) for Banks and other Financial Institutions to Honor and Process

               Checks and to Honor Transfers Related to Such Obligations (“Wage Motion”);

            c. Debtors’ Emergency Motion for Authorization to (I) Continue Their Insurance

               Programs; and (II) Pay All Insurance Obligations (“Insurance Motion”);

            d. Debtors’ Emergency Motion Pursuant to Sections 105(a), 363(b), and 503(b)(1) of

               the Bankruptcy Code for Authorization to Honor Certain Prepetition Customer

               Programs (“Customer Programs Motion”);

            e. Debtors’ Emergency Motion for (A) Authority to (I) Maintain Certain Bank

               Accounts and Continue to Use Existing Business Forms and Checks, and (II)




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               Continue to Use Existing Cash Management System, and (B) Waiver of Certain

               Investment and Deposit Guidelines (“Cash Management Motion”); and

            f. First Omnibus Motion to Reject Unexpired Leases (“Lease Rejection Motion” and

               together with the DIP Financing Motion, the Wage Motion, the Insurance Motion,

               the Customer Programs Motion, and the Cash Management Motion, the “First Day

               Motions”).

                         Background & Reasons for Filing Chapter 11

       7.      The Debtors operate as a single business and are known throughout the retail

industry as It’Sugar. It’Sugar is a specialty candy retailer whose products include bulk candy,

candy in giant packaging, and licensed and novelty items.

       8.      It’Sugar operates approximately 100 retail stores across the country. In connection

with the COVID-19 pandemic, in March 2020, It’Sugar was forced to close all retail locations and

furlough all store employees, along with a majority of corporate employees. Over the next several

months, It’Sugar reopened approximately 90 retail locations and began recalling furloughed

employees, but regularly had to close individual locations due to staffing shortages and local

government mandates. It’Sugar’s sales declined during the second quarter of 2020 by

approximately 48% compared with 2019. There is no assurance that sales will improve or will not

continue to decline, as the duration and severity of the COVID-19 pandemic and its effects remain

uncertain. As a result of the closure of its stores and decreased sales, It’Sugar ceased paying rent

to landlords in April 2020. While negotiations with landlords have been ongoing, a number of

It’Sugar’s leases are no longer market value and It’Sugar has accrued unpaid rent obligations

exceeding $7.5 million, thus necessitating bankruptcy in order to reject certain leases and

restructure It’Sugar’s corresponding debt.



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                                          The DIP Financing Motion1

           9.       Pursuant to the DIP Financing Motion, the Debtors seek entry of an Interim Order,

and subsequently a Final Order, authorizing the Debtors to obtain secured post-petition financing

from SHL Holdings, Inc. (“SHL”) in the form of one or more loans in the maximum amount of

$4,000,000 (“DIP Financing”) to be used to pay those obligations of the Debtors set forth in the

Budget attached to the DIP Financing Motion, including postpetition obligations and any critical

vendor payments as ordered by the Court.

           10.      SHL is an affiliate of the Debtors. More specifically, BBX Capital Corp. wholly

owns BBX Capital Florida LLC which owns BBX Sweet Holdings LLC which owns It’Sugar

Holdings LLC, which owns 90% of It’Sugar LLC. It’Sugar LLC owns the other three Debtors.

           11.      Jeffrey Rubin is the founder and Chief Executive Officer and owns JR Sugar

Holdings Inc. which owns the other 10% of It’Sugar LLC. Mr. Rubin is a Manager for all of the

Debtors.

           12.      SHL is the owner and holder of the Debtors’ prepetition secured debt, which it

acquired from Bank of America in April 2020. The secured debt owed to SHL is the Debtors’

primary prepetition secured debt. There may also be certain construction liens and governmental

unit personal property tax liens.

           13.      The terms of the DIP Financing are appropriate, reasonable, and in the Debtors’

business judgment essential to enable it to continue operating during the initial stages of this

Chapter 11 case. SHL is only charging interest at rate of monthly Libor + 1.5% and is not requiring

any payments be made under the DIP Financing, whether for principal or interest, until maturity.

In addition, SHL is not seeking to prime any pre-petition secured creditor, but rather is seeking (i)



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    Capitalized terms shall have the meaning ascribed to them in the First Day Motions unless otherwise defined.

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first liens on any of the Debtors’ assets that are not subject to any perfected pre-petition lien, (ii)

junior liens on any of the Debtors’ assets that are subject to any perfected pre-petition lien, and

(iii) a super-priority administrative expense claim, in each case pursuant to Section 364(c) of the

Bankruptcy Code.

       14.     The DIP Financing is the only alternative readily available that can satisfy the

Debtors’ financing needs in this case and permit it to pursue a restructuring within chapter 11. The

Debtors conducted arm’s length negotiations with SHL regarding the terms of the DIP Financing.

The Debtors must have immediate access to loan proceeds to pay employees, meet overhead costs,

and make all other payments set forth in the Budget that are essential for the continued

management, operation and preservation of the Debtors’ business and assets. The ability to satisfy

these obligations as and when due is essential to the Debtors’ continued operation of its business

during these Chapter 11 cases. The immediate access to the DIP Financing, along with the use of

Cash Collateral, to provide adequate liquidity for the operation and maintenance of the Debtors’

estates and assets will benefit all stakeholders by facilitating the Debtors’ efforts to preserve and

enhance the value of the Debtors’ assets.

       15.     Given the impact of the COVID-19 pandemic on the retail industry, after

discussions with three potential DIP loan lenders, I do not believe that any other lender would

entertain a DIP loan to the Debtors on comparable or better terms.

       16.     As a result, I believe that the DIP Financing is necessary to avoid immediate and

irreparable harm to the Debtors and their bankruptcy estates. In my business judgment, the DIP

Financing represents the best possible opportunity for the Debtors to retain the chance to maintain

operations and pursue the Debtors’ restructuring goals. Accordingly, the funds provided by the

DIP Financing are required to avoid a detrimental impact on the Debtors’ operations, and to enable



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the Debtors to effect a preservation of the value of the Debtors’ assets, all of which is clearly in

the best interests of the Debtors’ estates, creditors and other parties in interest.

                                          The Wage Motion

        17.     The Debtors request approval to pay and/or honor the Prepetition Employment

Obligations to Employees, which include non-insiders and insiders. The Employees provide

essential services to the Debtors, and their skills and understanding of the Debtors’ operations and

infrastructure are essential to the operation of It’Sugar. Payment to the Employees on account of

already accrued and unpaid wages is necessary to minimize the risk that the Employees will find

other employment and to preserve Employee morale and productivity and continuous service to

customers.

        18.     The insiders described in the Wage Motion are legitimate employees, working full-

time or part-time for the Debtors and are absolutely essential to the Debtors’ business operation.

If the Debtors were required to replace these employees, the Debtors’ business operations would

be severely disrupted and prejudiced. Further, replacement of these employees could not likely be

done at any cost savings to the Debtors. Indeed, the cost of replacing these employees would likely

exceed the current amount being paid to such employees.

                                       The Insurance Motion

        19.     Maintaining insurance coverage is critical to the Debtors’ operation and

reorganization, and is required by the U.S. Trustee Guidelines. The Debtors cannot operate their

business without the Insurance Policies and any interruption in the Debtors’ insurance coverage

would have a substantially adverse impact upon the Debtors’ ability to maintain business

operations and mitigate liabilities. The Debtors require the relief requested in order to fulfill their




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payment obligations for the benefit of the estates, and all parties in interest, and in order to comply

with applicable law and the U.S. Trustee Guidelines.

                                 The Customer Programs Motion

         20.   The Debtors seek approval to continue their Customer Programs in the ordinary

course of business and to honor approximately $200,000 of their prepetition obligations

thereunder.

         21.   The benefits of the Customer Programs are integral to the Debtors’ efforts to

stabilize their business, restore vitality, and ultimately deliver the most value to all stakeholders in

these chapter 11 cases. The Debtors believe they must quickly assure Customers of the Debtors’

continued ability to fulfill their obligations under the prepetition Customer Programs in order to

maintain their valuable customer relationships following the commencement of these chapter 11

cases.

         22.   The continuity, viability, and revitalization of the Debtors’ business is dependent

on the development and maintenance of the loyalty of their Customers. It is essential that the

Debtors be permitted to continue the Customer Programs and honor their prepetition obligations

thereunder. If the Debtors are unable to do so, their operations will be irreparably harmed.

         23.   The Customer Programs are standard practice in the specialty retail industry. The

Debtors’ principal competitors maintain programs similar, if not identical, to those offered by the

Debtors. As such, Customers have come to expect these types of programs to be offered in the

ordinary course of business by all participants in the Debtors’ industry, including the Debtors.

         24.   The Debtors’ ability to continue the Customer Programs, which have proven

beneficial, is necessary to reassure Customers and preserve goodwill. I believe that the resulting

benefit of continued Customer satisfaction and loyalty during the pendency of these cases will



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exceed the cost of such programs. Considering the potential for loss of competitiveness and the

resulting impact on the Debtors' business, I believe that continuing the Customer Programs in the

ordinary course of business and performing and honoring the Debtors’ prepetition obligations

thereunder is in the best interest of the Debtors, their estates, and their creditors.

                                  The Cash Management Motion

        25.     The Debtors seek approval for the continued use of certain existing Bank Accounts,

the continued use of existing business forms and checks, the continued use of the existing cash

management system, and waiver of the investment and deposit guidelines of Section 345 of the

Bankruptcy Code and the U.S. Trustee’s Guidelines.

        26.     Prior to the commencement of these Chapter 11 cases, in the ordinary course of

their business, the Debtors utilized the Bank Accounts nationwide.

        27.     It’Sugar LLC receives invoices for all lease payments, utilities, vendors and trade

debt for all Debtors.

        28.     Every Monday and Thursday, It’Sugar LLC manually sweeps the Store Deposit

Accounts. The sweep is electronically transferred into the Prepetition Operating Account.

        29.     The Bank Accounts are part of a carefully constructed and highly automated cash

management system that the Debtors have employed, in the ordinary course of their business, to

ensure the Debtors’ ability to efficiently monitor and control their cash position, effectively and

efficiently operate their business and ensure payment of their employees, vendors, and other

obligations.

        30.     The Cash Management System allows the Debtors to operate their business in the

most efficient and effective manner. Through the utilization of this existing Cash Management

System, the Debtors are able to facilitate cash forecasting and reporting, monitor collection and



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disbursement of funds, and maintain control over the administration of the various bank accounts

required to effect the collection, disbursement, and movement of cash, as well as the payment of

the Debtors’ employees. Indeed, the Cash Management System used by the Debtors constitute

ordinary, usual, and essential business practice. This integrated system allows the Debtors to (a)

control corporate funds centrally, (b) ensure availability of funds when necessary, (c) ensure

prompt and efficient payment of employees, and (d) reduce administrative expenses.

        31.     The Debtors’ operations require that the Cash Management System continue during

the pendency of their Chapter 11 cases. If the Debtors were required to adopt a new cash

management system, their operations and payments to their employees and vendors would be

severely disrupted, which would undoubtedly interfere with the Debtors’ business and have a

serious and potentially devastating impact on the Debtors’ ability to reorganize. Further, the

establishment of new cash accounts and a new collection and disbursement system would interfere

with the Debtors’ business relationships and could result in substantial additional costs to the

Debtors’ bankruptcy estates. In contrast, maintenance of the existing Cash Management System

will avoid this disruption and, thereby, avoid unnecessarily distracting the Debtors from more

critical matters. Accordingly, I believe that maintenance of the existing Cash Management System

is essential and in the best interests of all creditors and other parties in interest.

        32.     I also believe that opening a new set of books and records would create unnecessary

administrative burdens and hardship and would cause unnecessary expense, utilization of

resources, and delay. With the use of computer technology, it is now easy to differentiate between

pre- and post-petition transactions by date. The Debtors, in the ordinary course of their business,

use many checks, invoices, receipts, stationery, and other business forms. In light of the nature and

scope of the business in which the Debtors are engaged, the numerous other parties with whom



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the Debtors deal, the Debtors need to use their existing business forms without alteration or change.

A substantial amount of time and expense would be required in order to print new checks and other

business forms. Fulfillment of the requirement would likely delay payment of post-petition payroll

and other vendors and suppliers to the Debtors’ business, which could have a catastrophic impact

on the Debtors’ operations.

         33.     I also believe that changing correspondence and business forms would be

expensive, unnecessary, and burdensome to the Debtors’ estate and disruptive to the Debtors’

business operation.

         34.     Without the relief requested in the Cash Management Motion, I believe the

Debtors’ business operation as a whole will suffer significant and possibly irreversible adverse

consequences. Any disruption of the Debtors’ ability to pay their vendors and suppliers, as well as

their employees, could adversely affect the Debtors’ ability to maintain their operations at their

current level or to advance a restructuring of the Debtors that will maximize value for all

constituents.

                                    The Lease Rejection Motion

         35.     The Debtors seek approval to reject the Leases, because the Debtors intend to close

the stores located as the premises covered by the Leases.

         36.     I believe that the Leases are above market, and as a result, I do not believe that any

of the Leases have any value that can be achieved through an assumption and assignment to a third

party.

         37.     I also believe that maintaining the leases would impose unnecessary costs and

burdens on the Debtors’ estates, and that it is in the best interest of the Debtors and their estates




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that the Leases be rejected as they are burdensome and unnecessary to the Debtors and their

operations.

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       Pursuant to Section 1746, Title 28, of the United States Code, I declare under penalty of

perjury that the foregoing is true and correct.

       Dated: September 22, 2020.

                                                       __________________________
                                                       Troy Taylor
                                                       Proposed Chief Restructuring Officer




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